                 United States Court of Appeals
                               FIFTH CIRCUIT
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                        December 10, 2024


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      No. 24-10900   X Corp v. Media Matters
                     USDC No. 4:23-CV-1175


Dear Ms. Caraballo, Mr. Shine, and Mr. Wilkens,
We have reviewed your electronically filed amicus brief and it is
sufficient.
You must submit the 7 paper copies of your brief required by 5th
Cir. R. 31.1 within 5 days of the date of this notice pursuant to
5th Cir. ECF Filing Standard E.1.
                              Sincerely,
                              LYLE W. CAYCE, Clerk


                              By: _________________________
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